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                                                                                 FRANCIS BURGA AS THE
                                                                               8 ADMINISTRATOR OF THE
                                                                                 ESTATE OF MARGELUS BURGA
                                                                               9
              SIDEMAN & BANCROFT LLP




                                                                              10                                UNITED STATES DISTRICT COURT
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




                                                                              11                               NORTHERN DISTRICT OF CALIFORNIA

                                                                              12                                        SAN JOSE DIVISION

                                                                              13
LAW OFFICES




                                                                              14 UNITED STATES OF AMERICA,                           Case No. 18-CV-01633 BLF (SVK)

                                                                              15                 Petitioner,                         JOINT SUBMISSION REGARDING
                                                                                                                                     APPOINTMENT OF SPECIAL MASTER
                                                                              16          v.

                                                                              17 FRANCIS BURGA; FRANCIS BURGA AS                     Judge: Honorable Susan van Keulen
                                                                                 THE ADMINISTRATOR OF THE ESTATE
                                                                              18 OF MARGELUS BURGA; and RUSSELL
                                                                                 MANSKY,
                                                                              19
                                                                                           Respondents.
                                                                              20

                                                                              21

                                                                              22          Pursuant to the Order Regarding the United States’ Motion Challenging Respondents’
                                                                              23 Assertions of Privilege (Dkt. No. 37), the parties agree to the appointment of a special master to

                                                                              24 review the remaining documents that Respondents have asserted are privileged under the

                                                                              25 following terms and conditions:

                                                                              26          1.     The special master shall be Edward W. Swanson, Swanson & McNamara LLP, 300
                                                                              27 Montgomery Street, Suite 1100, San Francisco, CA 94104. The parties have determined and

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                                                                                                                               1                Case No. 18-CV-01633 BLF (SVK)
                                                                                                   JOINT SUBMISSION REGARDING APPOINTMENT OF SPECIAL MASTER
                                                                                      Case 5:18-cv-01633-BLF Document 42 Filed 12/10/19 Page 2 of 3




                                                                               1 agree that Mr. Swanson has the capability and availability to review the subject documents. Mr.

                                                                               2 Swanson will execute an affidavit pursuant to 28 U.S.C. § 455.

                                                                               3          2.      In order to educate Mr. Swanson as to the relevant factual background, the parties

                                                                               4 will provide Mr. Swanson with copies of the pleadings each party filed regarding the

                                                                               5 Government’s challenge to Respondents’ assertion of privilege and the Court’s Order dated

                                                                               6 August 16, 2019 (Dkt. No. 37). If Mr. Swanson has any inquiries during the course of his review,

                                                                               7 he will communicate in writing to counsel for the parties who will have seven days to respond in

                                                                               8 writing to Mr. Swanson. The parties will also make themselves available for joint telephone calls

                                                                               9 with Mr. Swanson, if requested, to address any inquiries he may have.
              SIDEMAN & BANCROFT LLP




                                                                              10          3.      The Respondents will provide Mr. Swanson with a log of the remaining claimed
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




                                                                              11 privilege documents and copies of those documents by December 20, 2019.

                                                                              12          4.      Mr. Swanson will complete his review of the claimed privileged documents on or

                                                                              13 before January 31, 2020, and will provide the results of his review to the parties by written report.
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                                                                              14          5.      The parties agree that the findings of Mr. Swanson will be reviewed for clear error

                                                                              15 under Fed. R. Civ. P. 53(f)(3)(A).

                                                                              16          6.      The parties agree that the fees of Mr. Swanson for acting as special master will be

                                                                              17 shared equally by the United States and Francis Burga, individually, and as Administrator of the

                                                                              18 Estate of Margelus Burga.

                                                                              19                                             Respectfully submitted,

                                                                              20 DATED: December 10, 2019                    SIDEMAN & BANCROFT LLP
                                                                              21

                                                                              22                                             By:          /s/ Jay R. Weill
                                                                                                                                   Jay R. Weill
                                                                              23                                                   Attorneys for FRANCIS BURGA; FRANCIS
                                                                                                                                   BURGA AS THE ADMINISTRATOR OF THE
                                                                              24                                                   ESTATE OF MARGELUS BURGA
                                                                              25

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                                                                                                                               2                Case No. 18-CV-01633 BLF (SVK)
                                                                                                   JOINT SUBMISSION REGARDING APPOINTMENT OF SPECIAL MASTER
                                                                                        Case 5:18-cv-01633-BLF Document 42 Filed 12/10/19 Page 3 of 3




                                                                               1 DATED: December 10, 2019                        WOOD ROBBINS LLP

                                                                               2                                                 By:          /s/ Denise Mejlszenkier
                                                                                                                                       Denise Mejlszenkier
                                                                               3
                                                                                                                                       Attorneys for Respondent RUSSELL MANSKY
                                                                               4
                                                                                   DATED: December 10, 2019                      RICHARD E. ZUCKERMAN
                                                                               5                                                 Principal Deputy Assistant Attorney General
                                                                               6
                                                                                                                                 By:          /s/ Amy Matchison
                                                                               7                                                       Amy Matchison
                                                                                                                                       Trial Attorney, Tax Division
                                                                               8                                                       United States Department of Justice
                                                                               9 DATED: December 10, 2019                        SWANSON & MCNAMARA LLP
              SIDEMAN & BANCROFT LLP




                                                                              10
                                                                                                                                 By:          /s/ Edward W. Swanson
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




                                                                              11                                                       Edward W. Swanson
                                                                                                                                       Special Master
                                                                              12

                                                                              13
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                                                                                            Pursuant to stipulation, IT IS SO ORDERED.
                                                                              15
                                                                                   DATED:
                                                                              16

                                                                              17

                                                                              18                                                    The Honorable Susan van Keulen
                                                                                                                                    United States Magistrate Judge
                                                                              19

                                                                              20

                                                                              21                                             ATTESTATION
                                                                              22            Pursuant to Civil Local Rule 5.1, I hereby attest that all counsel represented by conformed
                                                                              23 signatures above have concurred in the filing of this Joint Submission.

                                                                              24 DATED: December 10, 2019                  SIDEMAN & BANCROFT LLP
                                                                              25

                                                                              26                                           By:           /s/ Jay R. Weill

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                                                                                                                                3                Case No. 18-CV-01633 BLF (SVK)
                                                                                                    JOINT SUBMISSION REGARDING APPOINTMENT OF SPECIAL MASTER
